     Case 1:08-cr-00086-PB   Document 30   Filed 11/14/08   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 08-cr-86-PB

Christopher Chase, Kenton Benloss
and Phatsany Lae Syharath



                               O R D E R

     Defendant Kenton Benloss, through counsel, has moved to

continue the December 2, 2008 trial in the above case, citing the

need for additional time to complete extensive discovery and

consider pretrial negotiations.      The government and co-defendants

do not object to a continuance of the trial.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from December 2, 2008 to March 3, 2009.                In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:08-cr-00086-PB   Document 30   Filed 11/14/08   Page 2 of 2




      The November 17, 2008 final pretrial conference is continued

to February 18, 2009 at 4:30 p.m.

      SO ORDERED.




                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

November 14, 2008

cc:   Jonathan Saxe, Esq.
      Michael Ramsdell, Esq.
      R. Brian Snow, Esq.
      Mark Irish, AUSA
      United States Probation
      United States Marshal




                                     2
